        Case 1:21-cr-00003-RCL Document 53 Filed 06/26/21 Page 1 of 1




                      UNITED STATES DISTRICT COURT FOR
                          THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA                      :
                                              :
       v.                                     : CASE NO. 21-CR-003 (RCL)
                                              :
JACOB ANTHONY CHANSLEY,                       :
     Defendant.                               :


                                   STATUS UPDATE

       The government now submits this status update, pursuant to this Court’s Order. ECF No.

39. Since the last status update, the defendant has been housed at FCI Englewood, in Littleton,

CO. He will undergo his competency evaluation at FCI Englewood, and the parties have been

providing appropriate information to the evaluator.


                                     Respectfully submitted,

                                     CHANNING D. PHILLIPS
                                     ACTING UNITED STATES
                                     ATTORNEY


                                        /s/
                                     KIMBERLY L. PASCHALL
                                     Assistant United States Attorney
                                     D.C. Bar 1015665
                                     U.S. Attorney’s Office
                                     555 4th Street, N.W., Room 4116
                                     Washington, D.C. 20530
                                     202-252-2650
                                     Kimberly.Paschall@usdoj.gov




                                                1
